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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
                                  RENO, NEVADA


UNITED STATES OF AMERICA,              )     3:94-CR-00044-ECR-RAM
                                       )
      Plaintiff,                       )     MINUTES OF THE COURT
                                       )
vs.                                    )     DATE: March 16, 2011
                                       )
ROBERT JACKSON,                        )
                                       )
      Defendant.                       )
                                       )

PRESENT:        EDWARD C. REED, JR.                           U. S. DISTRICT JUDGE

Deputy Clerk:       COLLEEN LARSEN            Reporter:           NONE APPEARING

Counsel for Plaintiff(s)                       NONE APPEARING

Counsel for Defendant(s)                       NONE APPEARING

MINUTE ORDER IN CHAMBERS

     On February 3, 2011, Petitioner-Defendant filed a Petition to Reopen
his Writ of Habeas Corpus (#1294) under 28 U.S.C. § 2255.
     On February 22, 2011, Respondant-Plaintiff filed the Government’s
Response to Defendants’ Second or Successive Petition Pursuant to Title 28,
U.S.C. § 2255 (#1296).
     On March 11, 2011, Petitioner filed a reply (#1297) to the
Government’s response.
     Respondant United States of America contends that Petitioner did not
obtain a Certificate of Appeal to file his Petition (#1294) as required by
28 U.S.C. §§ 2255, 2244. This argument is well taken.

     IT IS, THEREFORE, HEREBY ORDERED that Petitioner’s Petition to Reopen
his Writ of Habeas Corpus (#1294) is DENIED.


                                                         LANCE S. WILSON, CLERK

                                                         By          /s/
                                                                Deputy Clerk
